      Case 2:19-cv-00239-GMS Document 14 Filed 04/12/19 Page 1 of 5



 1
 2
 3
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Ronald H. Pratte,                                   No. CV-19-00239-PHX-GMS
10                  Plaintiff,                           CASE MANAGEMENT ORDER
11   v.
12   Jeffrey Bardwell, et al.,
13                  Defendants.
14
15          The Court enters the following Case Management Order to govern the litigation in
16   this case:
17          1.     Mandatory Initial Discovery Pilot Project.      This case is subject to the
18   Mandatory Initial Discovery Pilot Project (“MIDP”) implemented by General Order 17-
19   08. The parties must comply with the requirements of the MIDP and need not make the
20   initial disclosures required by Federal Rule of Civil Procedure 26(a). If responses required
21   by the MIDP have not been exchanged, they shall be exchanged by April 24, 2019.
22          2.     Deadline for Joining Parties, Amending Pleadings, and Filing Supplemental
23   Pleadings. The deadline for joining parties, amending pleadings, and filing supplemental
24   pleadings is 60 days from the date of this Order.
25          3.     Discovery Limitations. Depositions shall be limited to seven hours each as
26   provided in Rule 30(d)(1) of the Federal Rules of Civil Procedure. Each side may propound
27   up to 25 interrogatories, including subparts, 25 requests for production of documents,
28   including subparts, and 25 requests for admissions, including subparts.
         Case 2:19-cv-00239-GMS Document 14 Filed 04/12/19 Page 2 of 5



 1           4.    MIDP Responses and Fact Discovery.                 The deadline for final
 2   supplementation of MIDP responses and the completion of fact discovery, including
 3   discovery by subpoena, shall be December 6, 2019.1 To ensure compliance with this
 4   deadline, the following rules shall apply:
 5                 a.     Written Discovery: All interrogatories, requests for production of
 6   document, and requests for admissions shall be served at least 45 days before the discovery
 7   deadline.
 8                 b.     The parties may mutually agree in writing, without Court approval, to
 9   extend the time provided for discovery responses in Rules 33, 34, and 36 of the Federal
10   Rules of Civil Procedure. Such agreed-upon extensions, however, shall not alter or extend
11   the discovery deadlines set forth in this Order.
12           5.    Expert Disclosures and Discovery.
13                 a.     Plaintiff(s) shall provide full and complete expert disclosures, as
14   required by Rule 26(a)(2)(A)-(C) of the Federal Rules of Civil Procedure, no later than
15   January 3, 2020.
16                 b.     Defendant(s) shall provide full and complete expert disclosures, as
17   required by Rule 26(a)(2)(A)-(C) of the Federal Rules of Civil Procedure, no later than
18   February 7, 2020.
19                 c.     Rebuttal expert disclosures, if any, shall be made no later than March
20   27, 2020. Rebuttal experts shall be limited to responding to opinions stated by initial
21   experts.
22                 d.     Expert depositions shall be completed no later than May 1, 2020.
23                 e.     Disclosures under Rule 26(a)(2)(A) must include the identities of
24   treating physicians and other witnesses who will provide testimony under Federal Rules of
25   Evidence 702, 703, or 705, but who are not required to provide expert reports under
26   1
       General Order 17-08 implements the MIDP and should be reviewed carefully. It requires
     parties to timely supplement their MIDP responses as new information is discovered.
27   Parties who fail to timely disclose relevant information will be precluded from using it in
     the case and may be subject to other sanctions. Parties who unreasonably postpone
28   disclosure of relevant information to the end of the discovery period will also be subject to
     sanctions.

                                                  -2-
         Case 2:19-cv-00239-GMS Document 14 Filed 04/12/19 Page 3 of 5



 1   Rule 26(a)(2)(B). Rule 26(a)(2)(C) disclosures are required for such witnesses on the dates
 2   set forth above. Rule 26(a)(2)(C) disclosures must identify not only the subjects on which
 3   the witness will testify, but must also provide a summary of the facts and opinions to which
 4   the expert will testify. The summary, although clearly not as detailed as a Rule 26(a)(2)(B)
 5   report, must be sufficiently detailed to provide fair notice of what the expert will say at
 6   trial.2
 7                  f.    As stated in the Advisory Committee Notes to Rule 26 (1993
 8   Amendments), expert reports under Rule 26(a)(2)(B) must set forth “the testimony the
 9   witness is expected to present during direct examination, together with the reasons
10   therefor.” Full and complete disclosures of such testimony are required on the dates set
11   forth above; absent extraordinary circumstances, parties will not be permitted to
12   supplement expert reports after these dates. The Court notes, however, that it usually
13   permits parties to present opinions of their experts that were elicited by opposing counsel
14   during depositions of the experts. Counsel should depose experts with this fact in mind.
15                  g.    Each side shall be limited to one retained or specifically employed
16   expert witness per issue.
17             6.   Discovery Disputes.
18                  a.    If a discovery dispute arises, the parties promptly shall call the Court
19   to request a telephone conference concerning the dispute. The Court will seek to resolve
20   the dispute during the telephone conference and may enter appropriate orders on the basis
21   of the telephone conference. The Court may order written briefing if it does not resolve
22   the dispute during the telephone conference. The parties shall not file written discovery
23   motions without leave of Court.3
24                  b.    Parties shall not contact the Court concerning a discovery dispute
25   2
       In Goodman v. Staples The Office Superstore, LLC, 644 F.3d 817 (9th Cir. 2011), the
     Ninth Circuit held that “a treating physician is only exempt from Rule 26(a)(2)(B)’s written
26   report requirement to the extent that his opinions were formed during the course of
     treatment.” Id. at 826. Thus, for opinions formed outside the course of treatment, Rule
27   26(a)(2)(B) written reports are required. Id. For opinions formed during the course of
     treatment, Rule 26(a)(2)(C) disclosures will suffice.
28   3
       The prohibition on “written discovery motions” includes any written materials delivered
     or faxed to the Court, including hand-delivered correspondence with attachments.

                                                 -3-
      Case 2:19-cv-00239-GMS Document 14 Filed 04/12/19 Page 4 of 5



 1   without first seeking to resolve the matter through personal consultation and sincere effort
 2   as required by Local Rule of Civil Procedure 7.2(j). Any briefing ordered by the Court
 3   shall also comply with Local Rule of Civil Procedure 7.2(j).
 4                 c.     Absent extraordinary circumstances, the Court will not entertain fact
 5   discovery disputes after the deadline for completion of fact discovery and will not entertain
 6   expert discovery disputes after the deadline for completion of expert discovery.
 7          7.     Dispositive Motions.
 8                 a.     Dispositive motions shall be filed no later than May 15, 2020.
 9                 b.     No party shall file more than one motion for summary judgment under
10   Rule 56 of the Federal Rules of Civil Procedure without leave of court.
11                 c.     Statements of fact required by Local Rule of Civil Procedure 56.1
12   shall not exceed ten pages in length, exclusive of exhibits.
13                 d.     The parties shall not notice oral argument on any motion. Instead, a
14   party desiring oral argument shall place the words “Oral Argument Requested”
15   immediately below the title of the motion pursuant to Local Rule of Civil Procedure 7.2(f).
16   The Court will issue an order scheduling oral argument as it deems appropriate.
17          8.     Good Faith Settlement Talks. All parties and their counsel shall meet in
18   person and engage in good faith settlement talks no later than December 13, 2019. Upon
19   completion of such settlement talks, and in no event later than five working days after the
20   deadline set forth in the preceding sentence, the parties shall file with the Court a joint
21   report on settlement talks executed by or on behalf of all counsel. The report shall inform
22   the Court that good faith settlement talks have been held and shall report on the outcome
23   of such talks. The parties shall indicate whether assistance from the Court is needed in
24   seeking settlement of the case. The parties shall promptly notify the Court at any time
25   when settlement is reached during the course of this litigation.
26          9.     The Deadlines Are Real. The parties are advised that the Court intends to
27   enforce the deadlines set forth in this Order and should plan their litigation activities
28   accordingly. The parties are specifically informed that the Court will not, absent truly


                                                 -4-
      Case 2:19-cv-00239-GMS Document 14 Filed 04/12/19 Page 5 of 5



 1   unusual circumstances, extend the schedule in this case to accommodate settlement talks.
 2          10.    Briefing Requirements.
 3                 a.      All memoranda filed with the Court shall comply with Local Rule of
 4   Civil Procedure 7.1(b) requiring 13-point font in text and footnotes.
 5                 b.      Citations in support of any assertion in the text shall be included in
 6   the text, not in footnotes.
 7          11.    Pre-motion Conference.
 8          The Court will hold a conference with the parties before motions for summary
 9   judgment are filed. The purpose of the conference will be to narrow issues and focus the
10   briefing, and perhaps dispense with statements of fact under Local Rule 56.1. The parties
11   shall exchange two-page letters describing any anticipated motions for summary judgment
12   and responses, identifying the issues and claims on which summary judgment will be
13   sought and the basis for the motions and response. The parties shall file these letters with
14   the Court on or before April 17, 2020 and shall call the Court the same day to schedule a
15   time for a pre-motion conference.
16   Dated this 12th day of April, 2019.
17
18
19
20
21
22
23
24
25
26
27
28


                                                 -5-
